                 Case 2:24-cr-00163-JAD-DJA                        Document 2             Filed 07/29/24            Page 1 of 1
PROB 22                                                                                                              DOCKET NUMBER (Tran. Court)
(Rev. 12/13)                                                                                                         8:22CR00009-2
                                        TRANSFER OF JURISDICTION
                                                                                                                     DOCKET NUMBER (Rec. Court)



NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:                          DISTRICT                                   DIVISION


Johnny Bradford, II                                                          District of Nebraska                    Omaha
                                                                              NAME OF SENTENCING JUDGE

                                                                             The Honorable Brian C. Buescher
                                                                             U.S. District Judge
                                                                             DATES OF PROBATION/SUPERVISED           FROM           TO
                                                                             RELEASE:
                                                                                                                     01/17/2024     01/16/2027
OFFENSE
Fraud By Wire - Radio - Or Television

JUSTIFICATION/REASON FOR TRANSFER (e.g., prosocial ties, employment/education opportunities, violation of supervision)
U.S. Probation for the District of Nevada is requesting a Transfer of Jurisdiction to the District of Nevada as Mr.
Bradford has no intention of leaving Nevada.


PART 1 – ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE District of Nebraska
         IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the District of
Nevada upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period of
probation or supervised release may be changed by the District Court to which this transfer is made without further
inquiry of this Court.*




        7/24/2024
        ____________________________                                             __________________________________________
          Date                                                                    Brian C. Buescher, U.S. District Judge
*This sentence may be deleted in the discretion of the transferring Court.
PART 2 – ORDER ACCEPTING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEVADA
      IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.



           7/29/2024
        ____________________________                                             __________________________________________
          Effective Date                                                           United States District Judge
